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&lt;div&gt;24CA0046 Majersky v LCM Prop Mgmt 10-10-2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;COLORADO COURT OF APPEALS &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Court of Appeals No. 24CA0046 &lt;/div&gt;
&lt;div&gt;Arapahoe County District Court No. 23CV109 &lt;/div&gt;
&lt;div&gt;Honorable &lt;span&gt;Elizabeth Beebe Volz&lt;/span&gt;, Judge &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Gregory Majersky, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Plaintiff-Appellant, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;v. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;LCM Property Management, Inc., &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Defendant-Appellee. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;JUDGMENT AFFIRMED AND CASE &lt;/div&gt;
&lt;div&gt;REMANDED WITH DIRECTIONS&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Division II &lt;/div&gt;
&lt;div&gt;Opinion by JUDGE &lt;span&gt;FOX&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Johnson&lt;span&gt; and Schock, JJ., concur &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;NOT PUBLISHED PURSUANT TO C.A.R. 35(e) &lt;/div&gt;
&lt;div&gt;Announced October 10, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Gregory Majersky, Pro Se &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Jachimiak Peterson Kummer, LLC, Joseph R. Kummer, &lt;span&gt;Taylor A. Clapp, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Lakewood, Colorado, for Defendant&lt;span&gt;-Appellee &lt;/span&gt;
&lt;/div&gt;
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&lt;div&gt;1 &lt;/div&gt;
&lt;div&gt;Â¶ 1&lt;span&gt; &lt;/span&gt;&lt;span&gt;Plaintiff, Gregory Majersky, appeals the district court&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;order &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;granting summary judgment in favor of defendant, LCM Prope&lt;span&gt;&lt;/span&gt;rty &lt;/div&gt;
&lt;div&gt;Management, Inc. (LCM).  We affirm and remand the case to the &lt;/div&gt;
&lt;div&gt;district court for a determination of LCM&lt;span&gt;â&lt;/span&gt;s reasonable attorney fees. &lt;span&gt;&lt;/span&gt;  &lt;/div&gt;
&lt;div&gt;I.&lt;span&gt; &lt;span&gt;Background &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 2&lt;span&gt; &lt;/span&gt;&lt;span&gt;Majersky is a resident and homeowner in Aurora&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Summerfield Villas community, which is governed by a homeowners &lt;/div&gt;
&lt;div&gt;association (HOA), the Summerfield Villas Homeowners Associati&lt;span&gt;&lt;/span&gt;on &lt;/div&gt;
&lt;div&gt;(Summerfield).  Summerfield hired LCM as its property &lt;/div&gt;
&lt;div&gt;management company.  This appeal arises out of a disp&lt;span&gt;&lt;/span&gt;ute between &lt;/div&gt;
&lt;div&gt;Majersky and LCM&lt;span&gt;â&lt;/span&gt;s employee, Suzanne Lopez, the Summerfiel&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;Community Manager.&lt;span&gt;  &lt;/span&gt;In March 2023, Majersky expressed an &lt;/div&gt;
&lt;div&gt;interest in running for a seat on Summerfield&lt;span&gt;â&lt;/span&gt;s Board of Direct&lt;span&gt;&lt;/span&gt;ors &lt;/div&gt;
&lt;div&gt;(Board).&lt;span&gt;  &lt;span&gt;However, Lopez informed Majersky that he could not vote &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;or run in the election because he was delinquent in paying his &lt;span&gt;&lt;/span&gt;HOA &lt;/div&gt;
&lt;div&gt;assessment fees.   &lt;/div&gt;
&lt;div&gt;Â¶ 3&lt;span&gt; &lt;/span&gt;&lt;span&gt;On April 25, 2023, proceeding pro se&lt;span&gt;, &lt;/span&gt;Majersky sued LCM, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;alleging that, as Lopez&lt;span&gt;â&lt;/span&gt;s employer, LCM violated Majersky&lt;span&gt;â&lt;/span&gt;s First &lt;/div&gt;
&lt;div&gt;Amendment rights by restricting his participation in the &lt;/div&gt;
&lt;div&gt;Summerfield election.  Majersky later amended his complaint to &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;2 &lt;/div&gt;
&lt;div&gt;allege that the same conduct violated his Fourteenth Amendment &lt;/div&gt;
&lt;div&gt;due process rights.&lt;span&gt;  &lt;/span&gt;LCM then moved to dismiss Majersky&lt;span&gt;â&lt;/span&gt;s First &lt;/div&gt;
&lt;div&gt;Amendment claims.  The district court granted the motion, &lt;span&gt;&lt;/span&gt;finding &lt;/div&gt;
&lt;div&gt;that Majersky failed to state a claim under C.R.C.P. 12(b)(5) &lt;/div&gt;
&lt;div&gt;because LCM and Summerfield are private entities, not âstate &lt;/div&gt;
&lt;div&gt;actorsâ subject to the First Amendment.  Before discovery, &lt;span&gt;LCM &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;moved for summary judgment on Majersky&lt;span&gt;â&lt;/span&gt;s remaining due process &lt;/div&gt;
&lt;div&gt;claims, which the court also granted.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 4&lt;span&gt; &lt;/span&gt;&lt;span&gt;In granting summary judgment, the district court focused &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;primarily on the proper interpretation of Summerfield&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;&lt;span&gt;â&lt;span&gt;Bylaws,&lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;â&lt;span&gt;Declarations,&lt;/span&gt;â&lt;span&gt; &lt;/span&gt;â&lt;span&gt;Rules and Regulations,&lt;/span&gt;â&lt;span&gt; and &lt;/span&gt;â&lt;span&gt;Articles of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Incorporation&lt;span&gt;â&lt;/span&gt;&lt;span&gt; (collectively, the Governing Documents)&lt;span&gt;. &lt;/span&gt; &lt;span&gt;It&lt;/span&gt; f&lt;span&gt;&lt;/span&gt;ound no &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;genuine dispute as to any material facts, based on the following&lt;span&gt;: &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;The Bylaws authorize the Board and its agents to &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;preclude a homeowner from voting on Summerfield &lt;/div&gt;
&lt;div&gt;matters when the homeowner has delinquent assessment &lt;/div&gt;
&lt;div&gt;fees.  &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;Although the Governing Documents do not explicitly &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;address whether a delinquent homeowner may run for a &lt;/div&gt;
&lt;div&gt;Board position, the Bylaws provision that restricts voting &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;3 &lt;/div&gt;
&lt;div&gt;rights can reasonably be applied to so preclude &lt;/div&gt;
&lt;div&gt;delinquent homeowners.  &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;The Governing Documents authorize the Board to employ &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;agents to enforce the Governing Documents.  &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;The Board hired LCM consistent&lt;span&gt;ly&lt;/span&gt; with these provisions. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;Majersky was delinquent and thus properly precluded &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;from voting and running in the Summerfield election&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 5&lt;span&gt; &lt;/span&gt;&lt;span&gt;LCM subsequently moved to recover attorney fees and costs as &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the prevailing party under section 38-33.3-123(1)(c), C.R.S. 2024.&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Shortly thereafter, Majersky filed his notice of appeal.  On &lt;span&gt;&lt;/span&gt;February &lt;/div&gt;
&lt;div&gt;16, 2024, after the notice of appeal was filed, the district court &lt;/div&gt;
&lt;div&gt;found that LCM was entitled to attorney fees but stayed it&lt;span&gt;&lt;/span&gt;s ruling &lt;/div&gt;
&lt;div&gt;on the amount of the award pending this appeal.   &lt;/div&gt;
&lt;div&gt;II.&lt;span&gt; &lt;span&gt;Issues Raised on Appeal  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 6&lt;span&gt; &lt;/span&gt;&lt;span&gt;On appeal, Majersky raises two main arguments.  First, he &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;argues that the district court erroneously interpret&lt;span&gt;ed&lt;/span&gt; the Bylaws as &lt;/div&gt;
&lt;div&gt;allowing the Board and LCM to suspend a delinquent homeown&lt;span&gt;&lt;/span&gt;er&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;eligibility to run for a Board seat.&lt;span&gt;  &lt;/span&gt;Second, he argues that the &lt;/div&gt;
&lt;div&gt;district court erred by finding that the Board and/or the Governing &lt;/div&gt;
&lt;div&gt;Documents gave LCM and&lt;span&gt; &lt;/span&gt;Lopez authority to suspend his voting &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTP432XCVYG&amp;amp;Expires=1728892985&amp;amp;Signature=oMvKIFMuPB%2BTAUkslNgvcknidsg%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHcaCXVzLWVhc3QtMSJHMEUCIFgrekBQN6kb6yKFMYelJpbygbNBdu2NfHoA0yz53Y6nAiEA%2F67TgVfilozHxwOVHVOqCrglV5gb86RC3E5dNR%2BYRFQquQUI0P%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDLJcmX6d%2FqDobAJPdiqNBS%2FaTmh3H703Pd6U5%2B96KwSbf2F0OaARR5ZrvktGk%2FKMt%2F1O8QFdL0bnvA5NfSlJzt432EDGYu8lcn4CXMLG3cnG9C21f%2F2DeZQEzFXdgoGoxelY1PyOL4R9dLeEJounGVtGyH3ZeyKmYXh3mFKRJLQY0yOP1EJi3nJvUkIfU2V4821ivq7yxxc%2BSAMz2pOhpfhQAFyijYVipwwUHcQLcsSafYGUPQqHs3QG7nWtd7eux9zJ1294VxnjUbCdO4T8M80pPudLoQwAg3LbB8cF%2Fqyv7XwdYCASZX9QsSrUg1eYljzGReGxu3rzcIUWM7SF4DCx2J8poZqfeL%2BOeNJUZgBaK6YjpDWQndYmbSwv6chZzjT3HzyCr9lg1RKZ7TH9Ncj2EofLB4EXGw%2FtnLNHtDgPc9414MHgt3QtfhBhMiHQKcGP%2FK%2BnnGh70%2Bi5Ty3GO2gRg08RcPSYIHaO5H27%2FgC5Da0vSwvn9tPAooUU4TvLGiHLGpLpQMr228i74qb9xNp0Om68uht%2BC4k8vMkzUlX0OTcxVxBdwxrltBjp67VAKT2lGusRs49Cl%2Bm2f8z8%2Bn%2Fs8ynPyAYYhe2ziAYda6ieFr8lD7kyo0Twj3pwdTkhBNeiYgZBEel17L1QugD7H6vNDCZkbP%2Buw2Or9vvBrcf7rvpVvBfVIZoDUGh10OG%2BHTTT9DawrgWk0M15FAbZUTBBcQI8BCq%2BYQy955zZ3%2BJ53Jo0LtpQV3dZXwcHj3P9hXcBS1aTvzOqpK2ypE3EgYL9l9tVyTyUVqYl2YsQ3ZO78NnxSpk726XWlHpyCvYdZgSCR2EuMNbUAWjrbrnBzEcIH27EFybi9nBkBUQWD%2Fu48JV7Z%2B5FFCTQ5swPMIH8srgGOrEB2ItU9sOdAETrV0YQEq6JxAXuzBJFBZOEoLYVZo%2FKp8%2FTdnTvrOT1VjSp3G%2Bzw7lRPEHrdwsLALuD8LtGjZq0H0m4awA19MU6ZMgqze6zGSVv4KCpWzEs0rPb72eYXkiQSQgZXFAb0ZR56dj6SwQRh87z1LbAXV9Klb844w%2FpPpvLXgKalYW4OpYhTuy%2BaRkh1nIn9VnwsocYzv4DkuMvC26qonxYZqbvoaSw9njYWBfD"&gt;&lt;div&gt;
&lt;div&gt;4 &lt;/div&gt;
&lt;div&gt;rights.&lt;span&gt;  &lt;span&gt;Thus, Majersky asserts that LCM violated his Fourteent&lt;span&gt;&lt;/span&gt;h &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Amendment due process rights by suspending his rights t&lt;span&gt;&lt;/span&gt;o vote in &lt;/div&gt;
&lt;div&gt;and run for the Summerfield election.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  Majersky also raises several &lt;/div&gt;
&lt;div&gt;arguments that were not preserved for appeal because they &lt;span&gt;&lt;/span&gt;were &lt;/div&gt;
&lt;div&gt;not raised in the district court or were raised for the first time in &lt;span&gt;&lt;/span&gt;his &lt;/div&gt;
&lt;div&gt;reply brief.&lt;span&gt;  &lt;/span&gt;Finally, LCM asks us to award its attorney fees under &lt;/div&gt;
&lt;div&gt;section &lt;span&gt;38&lt;/span&gt;-33.3-123(1)(c) &lt;span&gt;for&lt;/span&gt; defending this appeal.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;III.&lt;span&gt; &lt;span&gt;Standard of Review  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 7&lt;span&gt; &lt;/span&gt;&lt;span&gt;We review de novo orders granting summary judgment.  &lt;span&gt;Vista&lt;span&gt;&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Ridge Master Homeowners Ass&lt;span&gt;â&lt;/span&gt;n v. Arcadia Holdings at&lt;span&gt;&lt;/span&gt; Vista Ridge, &lt;/div&gt;
&lt;div&gt;LLC&lt;span&gt;, 2013 COA 26, Â¶ 8.  Under C.R.C.P. 56(c), summary j&lt;span&gt;&lt;/span&gt;udgment &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;is warranted when âthere is no genuine issue as to any &lt;span&gt;&lt;/span&gt;material fact &lt;/div&gt;
&lt;div&gt;[such] that the moving party is entitled to a judgment as a &lt;span&gt;&lt;/span&gt;matter of &lt;/div&gt;
&lt;div&gt;law.â &lt;span&gt; We also review de novo a district court&lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s interpretation of&lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; In his notice of appeal, Majersky indicated that he appealed &lt;span&gt;&lt;/span&gt;only &lt;/div&gt;
&lt;div&gt;the district courtâs order from December 7, 2023, not t&lt;span&gt;&lt;/span&gt;he courtâs &lt;/div&gt;
&lt;div&gt;June 27, 2023, order dismissing his First Amendment &lt;span&gt;&lt;/span&gt;claims.  &lt;span&gt;See &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Prairie Mountain Publâg Co. v. Regents of Univ. of Colo.&lt;span&gt;, 2021 CO&lt;span&gt;&lt;/span&gt;A &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;26, Â¶ 10 n.3 (âArguments not advanced on appeal are gener&lt;span&gt;&lt;/span&gt;ally &lt;/div&gt;
&lt;div&gt;deemed waived.â).  However, we liberally construe pro se p&lt;span&gt;&lt;/span&gt;artiesâ &lt;/div&gt;
&lt;div&gt;filings.  &lt;span&gt;See Minshall v. Johnst&lt;span&gt;on&lt;/span&gt;&lt;/span&gt;, 2018 COA 44, Â¶ 21.  Regardles&lt;span&gt;&lt;/span&gt;s of &lt;/div&gt;
&lt;div&gt;whether Majersky waived his First Amendment argument&lt;span&gt;&lt;/span&gt;s, our &lt;/div&gt;
&lt;div&gt;conclusion that LCM and Summerfield are not state &lt;span&gt;&lt;/span&gt;actors is &lt;/div&gt;
&lt;div&gt;dispositive of both constitutional claims.   &lt;/div&gt;
&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;5 &lt;/div&gt;
&lt;div&gt;declarations of covenants, bylaws, and other governing docum&lt;span&gt;&lt;/span&gt;ents&lt;span&gt;. &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;See Vista Ridge&lt;span&gt;, Â¶ 8.   &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;IV.&lt;span&gt; &lt;/span&gt;&lt;span&gt;Analysis &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;A.&lt;span&gt; &lt;span&gt;The Bylaws Implicitly Authorize Summerfield and LCM to &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Suspend Majersky&lt;span&gt;â&lt;/span&gt;s Eligibility to Run in Summerfield &lt;/div&gt;
&lt;div&gt;Elections  &lt;/div&gt;
&lt;div&gt;Â¶ 8&lt;span&gt; &lt;/span&gt;&lt;span&gt;Majersky first argues that the district court erred by finding &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that the Governing Documents allow the Board or its &lt;span&gt;&lt;/span&gt;agent(s) to &lt;/div&gt;
&lt;div&gt;suspend a delinquent homeowner&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;eligibility to run in &lt;span&gt;&lt;/span&gt;Board &lt;/div&gt;
&lt;div&gt;elections.&lt;span&gt;  &lt;span&gt;Essential to the district court&lt;/span&gt;&lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s ruling was Article VII, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;section (1)(b) of the Bylaws, which grants the Board authority &lt;span&gt;to&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âsuspend the voting rights . . . of a member during any perio&lt;span&gt;&lt;/span&gt;d in &lt;/div&gt;
&lt;div&gt;which such member shall be in default in the payment of&lt;span&gt;&lt;/span&gt; any &lt;/div&gt;
&lt;div&gt;assessment levied by [Summerfield]&lt;span&gt;.â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 9&lt;span&gt; &lt;/span&gt;&lt;span&gt;Although nothing in the Governing Documents discuss&lt;span&gt;es&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;eligibility to run in Summerfield elections, the court reasoned that&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;the Bylaws provision restricting voting rights could reasonably &lt;/div&gt;
&lt;div&gt;apply to restricting a delinquent homeowner&lt;span&gt;â&lt;/span&gt;s eligibility to run for a &lt;/div&gt;
&lt;div&gt;Board seat.&lt;span&gt;  &lt;/span&gt;Specifically, because the homeowner would be una&lt;span&gt;&lt;/span&gt;ble &lt;/div&gt;
&lt;div&gt;to vote on matters before the Board or meaningfully partici&lt;span&gt;&lt;/span&gt;pate as a &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf7" data-page-no="7"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;6 &lt;/div&gt;
&lt;div&gt;Board member, the court found that a contrary interpretati&lt;span&gt;&lt;/span&gt;on &lt;/div&gt;
&lt;div&gt;would lead to absurd results.&lt;span&gt;  &lt;/span&gt;We agree. &lt;/div&gt;
&lt;div&gt;Â¶ 10&lt;span&gt; &lt;/span&gt;&lt;span&gt;When interpreting HOA covenants and other governing &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;documents, we first look to the plain language, âgiving words an&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;phrases their common meanings.â&lt;span&gt;  &lt;span&gt;McShane v. Stirling Ra&lt;span&gt;&lt;/span&gt;nch Prop. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Owners Ass&lt;span&gt;â&lt;/span&gt;&lt;span&gt;n&lt;/span&gt;&lt;span&gt;,&lt;/span&gt; &lt;span&gt;2017 CO 38, Â¶ 16.  When a document&lt;span&gt;â&lt;/span&gt;s meaning &lt;span&gt;&lt;/span&gt;is &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;clear, we will enforce it as written.  &lt;span&gt;Id&lt;span&gt;.&lt;/span&gt;&lt;/span&gt;  At the same time, we &lt;/div&gt;
&lt;div&gt;âconstrue covenants as a whole, &lt;span&gt;keeping in mind their underlying &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;purpose&lt;span&gt;.â&lt;/span&gt;&lt;span&gt;  &lt;span&gt;Buick v. Highland Meadow Ests. at Castle Pea&lt;span&gt;&lt;/span&gt;k Ranch, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Inc.&lt;span&gt;, &lt;span&gt;21 P.3d 860, 862 (Colo. 2001).  Thus, we seek to give effect to &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the intention of those who created the instrument and avoid hy&lt;span&gt;&lt;/span&gt;per-&lt;/div&gt;
&lt;div&gt;technical interpretations that will defeat th&lt;span&gt;at&lt;/span&gt; intention or yiel&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;absurd results.  &lt;span&gt;Quarky, LLC v. Gabrick&lt;/span&gt;, 2024 COA 76, Â¶ 11.  On &lt;/div&gt;
&lt;div&gt;this point, &lt;span&gt;Evergreen Highlands Ass&lt;span&gt;â&lt;/span&gt;n v. West&lt;/span&gt;, 73 P.3d 1 (Colo. &lt;/div&gt;
&lt;div&gt;2003), is instructive.   &lt;/div&gt;
&lt;div&gt;Â¶ 11&lt;span&gt; &lt;/span&gt;&lt;span&gt;In &lt;span&gt;West&lt;/span&gt;, our supreme court considered whether, absent an &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;explicit written provision imposing mandatory dues, an HO&lt;span&gt;&lt;/span&gt;A had &lt;/div&gt;
&lt;div&gt;implicit power to collect assessments from members. &lt;span&gt; &lt;span&gt;Id&lt;span&gt;.&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; at 2&lt;span&gt;, 4. &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Relying in part on the Colorado Common Interest Ownership &lt;span&gt;&lt;/span&gt;Act &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf8" data-page-no="8"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTP432XCVYG&amp;amp;Expires=1728892985&amp;amp;Signature=oMvKIFMuPB%2BTAUkslNgvcknidsg%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHcaCXVzLWVhc3QtMSJHMEUCIFgrekBQN6kb6yKFMYelJpbygbNBdu2NfHoA0yz53Y6nAiEA%2F67TgVfilozHxwOVHVOqCrglV5gb86RC3E5dNR%2BYRFQquQUI0P%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDLJcmX6d%2FqDobAJPdiqNBS%2FaTmh3H703Pd6U5%2B96KwSbf2F0OaARR5ZrvktGk%2FKMt%2F1O8QFdL0bnvA5NfSlJzt432EDGYu8lcn4CXMLG3cnG9C21f%2F2DeZQEzFXdgoGoxelY1PyOL4R9dLeEJounGVtGyH3ZeyKmYXh3mFKRJLQY0yOP1EJi3nJvUkIfU2V4821ivq7yxxc%2BSAMz2pOhpfhQAFyijYVipwwUHcQLcsSafYGUPQqHs3QG7nWtd7eux9zJ1294VxnjUbCdO4T8M80pPudLoQwAg3LbB8cF%2Fqyv7XwdYCASZX9QsSrUg1eYljzGReGxu3rzcIUWM7SF4DCx2J8poZqfeL%2BOeNJUZgBaK6YjpDWQndYmbSwv6chZzjT3HzyCr9lg1RKZ7TH9Ncj2EofLB4EXGw%2FtnLNHtDgPc9414MHgt3QtfhBhMiHQKcGP%2FK%2BnnGh70%2Bi5Ty3GO2gRg08RcPSYIHaO5H27%2FgC5Da0vSwvn9tPAooUU4TvLGiHLGpLpQMr228i74qb9xNp0Om68uht%2BC4k8vMkzUlX0OTcxVxBdwxrltBjp67VAKT2lGusRs49Cl%2Bm2f8z8%2Bn%2Fs8ynPyAYYhe2ziAYda6ieFr8lD7kyo0Twj3pwdTkhBNeiYgZBEel17L1QugD7H6vNDCZkbP%2Buw2Or9vvBrcf7rvpVvBfVIZoDUGh10OG%2BHTTT9DawrgWk0M15FAbZUTBBcQI8BCq%2BYQy955zZ3%2BJ53Jo0LtpQV3dZXwcHj3P9hXcBS1aTvzOqpK2ypE3EgYL9l9tVyTyUVqYl2YsQ3ZO78NnxSpk726XWlHpyCvYdZgSCR2EuMNbUAWjrbrnBzEcIH27EFybi9nBkBUQWD%2Fu48JV7Z%2B5FFCTQ5swPMIH8srgGOrEB2ItU9sOdAETrV0YQEq6JxAXuzBJFBZOEoLYVZo%2FKp8%2FTdnTvrOT1VjSp3G%2Bzw7lRPEHrdwsLALuD8LtGjZq0H0m4awA19MU6ZMgqze6zGSVv4KCpWzEs0rPb72eYXkiQSQgZXFAb0ZR56dj6SwQRh87z1LbAXV9Klb844w%2FpPpvLXgKalYW4OpYhTuy%2BaRkh1nIn9VnwsocYzv4DkuMvC26qonxYZqbvoaSw9njYWBfD"&gt;&lt;div&gt;
&lt;div&gt;7 &lt;/div&gt;
&lt;div&gt;(CCIOA)&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; and the Restatement (Third) of Property: Servitudes (Am. &lt;/div&gt;
&lt;div&gt;L. Inst. 2000) (hereinafter, Restatement),&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; the court found such an &lt;/div&gt;
&lt;div&gt;implied power&lt;span&gt;. &lt;/span&gt; &lt;span&gt;West&lt;/span&gt;, 73 P.3d at 7-9.  Specifically, because &lt;/div&gt;
&lt;div&gt;collecting assessment fees is so integral to an HOA&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;function, this &lt;/div&gt;
&lt;div&gt;power can be implied.  &lt;span&gt;See id.&lt;/span&gt; at 8 (Colorado&lt;span&gt;â&lt;/span&gt;s continued economic &lt;/div&gt;
&lt;div&gt;prosperity &lt;span&gt;depends on â&lt;/span&gt;the strengthening of homeowner &lt;/div&gt;
&lt;div&gt;associations . . . through enhancing the financial stability of &lt;/div&gt;
&lt;div&gt;associations by . . . âcollect[ing] delinquent assessmentsâ&lt;span&gt; (quoting &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â§ &lt;span&gt;38&lt;/span&gt;&lt;span&gt;-33.3-102(1)(&lt;span&gt;b)&lt;/span&gt;&lt;/span&gt;, C.R.S. 20&lt;span&gt;24&lt;span&gt;)).&lt;/span&gt;&lt;/span&gt;  For two reasons, we apply &lt;/div&gt;
&lt;div&gt;similar reasoning here.  &lt;/div&gt;
&lt;div&gt;Â¶ 12&lt;span&gt; &lt;/span&gt;&lt;span&gt;First, allowing a delinquent homeowner to serve on the Board &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;undermines an HOA&lt;span&gt;â&lt;/span&gt;s essential ability to collect delinquent fees&lt;span&gt;. &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;This situation could create an inherent conflict of interest between &lt;/div&gt;
&lt;div&gt;the HOA, the member seeking to evade payment, and other Board &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt; Â§&lt;span&gt;Â§ &lt;span&gt;38&lt;/span&gt;&lt;/span&gt;-33.1-101 &lt;span&gt;to&lt;/span&gt; -&lt;span&gt;402&lt;/span&gt;, C.R.S. 2024.  &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; While Colorado has not explicitly adopted the Restatement in &lt;span&gt;&lt;/span&gt;full, &lt;/div&gt;
&lt;div&gt;our courts consistently rely on its principles for guidance. &lt;span&gt;&lt;/span&gt; &lt;span&gt;See, e.g.&lt;/span&gt;&lt;span&gt;,&lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Evergreen Highlands Assân v. &lt;span&gt;West&lt;/span&gt;&lt;span&gt;, 73 P.3d &lt;span&gt;1,&lt;/span&gt; 4 (Colo. 2003) &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(adopting the Restatement&lt;span&gt;â&lt;/span&gt;s approach regarding homeowners &lt;/div&gt;
&lt;div&gt;a&lt;span&gt;ssociationsâ &lt;span&gt;implicit power to collect fees); &lt;span&gt;Roaring Fork Club, L.P. &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;v. St. Jude&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s Co.&lt;/span&gt;&lt;span&gt;, 36 P.3d 1229, 1235 (Colo. 2001) (adopting&lt;span&gt;&lt;/span&gt; part of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the Restatement concerning easements); &lt;span&gt;Lobato v. Taylor&lt;/span&gt;, 71 P.3d &lt;/div&gt;
&lt;div&gt;938, 950-56 (Colo. 2002) (relying heavily on the Restatement &lt;span&gt;&lt;/span&gt;to &lt;/div&gt;
&lt;div&gt;reach a conclusion). &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf8" data-dest-detail='[8,"XYZ",69,236,null]'&gt;&lt;div style="border-style:none;position:absolute;left:158.866111px;bottom:877.999444px;width:10.090000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;&lt;a href="#pf8" data-dest-detail='[8,"XYZ",69,219,null]'&gt;&lt;div style="border-style:none;position:absolute;left:445.088333px;bottom:836.011667px;width:10.080000px;height:32.860000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf9" data-page-no="9"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTP432XCVYG&amp;amp;Expires=1728892985&amp;amp;Signature=oMvKIFMuPB%2BTAUkslNgvcknidsg%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHcaCXVzLWVhc3QtMSJHMEUCIFgrekBQN6kb6yKFMYelJpbygbNBdu2NfHoA0yz53Y6nAiEA%2F67TgVfilozHxwOVHVOqCrglV5gb86RC3E5dNR%2BYRFQquQUI0P%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDLJcmX6d%2FqDobAJPdiqNBS%2FaTmh3H703Pd6U5%2B96KwSbf2F0OaARR5ZrvktGk%2FKMt%2F1O8QFdL0bnvA5NfSlJzt432EDGYu8lcn4CXMLG3cnG9C21f%2F2DeZQEzFXdgoGoxelY1PyOL4R9dLeEJounGVtGyH3ZeyKmYXh3mFKRJLQY0yOP1EJi3nJvUkIfU2V4821ivq7yxxc%2BSAMz2pOhpfhQAFyijYVipwwUHcQLcsSafYGUPQqHs3QG7nWtd7eux9zJ1294VxnjUbCdO4T8M80pPudLoQwAg3LbB8cF%2Fqyv7XwdYCASZX9QsSrUg1eYljzGReGxu3rzcIUWM7SF4DCx2J8poZqfeL%2BOeNJUZgBaK6YjpDWQndYmbSwv6chZzjT3HzyCr9lg1RKZ7TH9Ncj2EofLB4EXGw%2FtnLNHtDgPc9414MHgt3QtfhBhMiHQKcGP%2FK%2BnnGh70%2Bi5Ty3GO2gRg08RcPSYIHaO5H27%2FgC5Da0vSwvn9tPAooUU4TvLGiHLGpLpQMr228i74qb9xNp0Om68uht%2BC4k8vMkzUlX0OTcxVxBdwxrltBjp67VAKT2lGusRs49Cl%2Bm2f8z8%2Bn%2Fs8ynPyAYYhe2ziAYda6ieFr8lD7kyo0Twj3pwdTkhBNeiYgZBEel17L1QugD7H6vNDCZkbP%2Buw2Or9vvBrcf7rvpVvBfVIZoDUGh10OG%2BHTTT9DawrgWk0M15FAbZUTBBcQI8BCq%2BYQy955zZ3%2BJ53Jo0LtpQV3dZXwcHj3P9hXcBS1aTvzOqpK2ypE3EgYL9l9tVyTyUVqYl2YsQ3ZO78NnxSpk726XWlHpyCvYdZgSCR2EuMNbUAWjrbrnBzEcIH27EFybi9nBkBUQWD%2Fu48JV7Z%2B5FFCTQ5swPMIH8srgGOrEB2ItU9sOdAETrV0YQEq6JxAXuzBJFBZOEoLYVZo%2FKp8%2FTdnTvrOT1VjSp3G%2Bzw7lRPEHrdwsLALuD8LtGjZq0H0m4awA19MU6ZMgqze6zGSVv4KCpWzEs0rPb72eYXkiQSQgZXFAb0ZR56dj6SwQRh87z1LbAXV9Klb844w%2FpPpvLXgKalYW4OpYhTuy%2BaRkh1nIn9VnwsocYzv4DkuMvC26qonxYZqbvoaSw9njYWBfD"&gt;&lt;div&gt;
&lt;div&gt;8 &lt;/div&gt;
&lt;div&gt;members&lt;span&gt;. &lt;span&gt; Indeed, CCIOA requires specific policies concerning &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Board members&lt;span&gt;â&lt;/span&gt; conflicts of interest.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;4&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  Â§ 38-33.3-209.5(1)(b)(II), (4), &lt;/div&gt;
&lt;div&gt;C.R.S. 2024; &lt;span&gt;see also &lt;/span&gt;Â§ 38-33.3-310.5, C.R.S. 2024 (applying &lt;/div&gt;
&lt;div&gt;section 7-128-501, C.R.S. 2024, the Colorado Revised Nonprof&lt;span&gt;&lt;/span&gt;it &lt;/div&gt;
&lt;div&gt;Corporation Act&lt;span&gt;â&lt;/span&gt;s conflicts of interest provision, to HOAs).  &lt;/div&gt;
&lt;div&gt;Additionally, HOAs may âwithout specific authorization in t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;declaration . . . [e]xercise any other powers necessar&lt;span&gt;&lt;/span&gt;y and proper for &lt;/div&gt;
&lt;div&gt;the governance and operation of the association.â&lt;span&gt; &lt;span&gt; &lt;/span&gt;Â§ 38-33.3-&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;302(1)(q), C.R.S. 2024&lt;span&gt;. &lt;/span&gt; Preventing conflicts of interest on the Board &lt;/div&gt;
&lt;div&gt;is one such power that we may reasonably infer&lt;span&gt;. &lt;/span&gt;  &lt;/div&gt;
&lt;div&gt;Â¶ 13&lt;span&gt; &lt;/span&gt;&lt;span&gt;Second, allowing &lt;span&gt;a &lt;/span&gt;delinquent homeowner to serve on t&lt;span&gt;&lt;/span&gt;he &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Board leads to absurd results and contradicts the homeowner&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;duties as a Board member.&lt;span&gt;  &lt;/span&gt;As a nonprofit&lt;span&gt;, &lt;/span&gt;Summerfield is subject &lt;/div&gt;
&lt;div&gt;to additional statutory requirements.&lt;span&gt;  &lt;/span&gt;Thus, Summerfield Board &lt;/div&gt;
&lt;div&gt;members have a duty to act &lt;span&gt;âin the best interests of the nonprofit.&lt;span&gt;&lt;/span&gt;â&lt;span&gt;  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â§ 7-128-401(1)(c), C.R.S. 2024&lt;span&gt;; &lt;/span&gt;&lt;span&gt;see also&lt;/span&gt; Restatement Â§ 6.14 cmt. a &lt;/div&gt;
&lt;div&gt;(imposing on HOA directors and officers a duty to comply with the &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;4&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; While Summerfield does not appear to have such a provision in &lt;span&gt;&lt;/span&gt;its &lt;/div&gt;
&lt;div&gt;Governing Documents, it would be a best practice to adopt one, as &lt;/div&gt;
&lt;div&gt;it is &lt;span&gt;as&lt;/span&gt; a statutory requirement&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See&lt;/span&gt; &lt;span&gt;Â§ &lt;span&gt;38&lt;/span&gt;&lt;/span&gt;-33.3-117(1.5)(c), C.R.S. &lt;/div&gt;
&lt;div&gt;2024 (applying section &lt;span&gt;38&lt;/span&gt;-33.3-209.5 to HOAs created before 1992). &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf9" data-dest-detail='[9,"XYZ",69,137,null]'&gt;&lt;div style="border-style:none;position:absolute;left:410.026111px;bottom:836.011667px;width:10.080000px;height:32.860000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfa" data-page-no="a"&gt;
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&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMX/n%2Be/MMXn%2BekQ817y/lXyeovZwcgeMWibwHo7dUSO3Lu0a7r74%3D?AWSAccessKeyId=ASIA5PHC3MTP432XCVYG&amp;amp;Expires=1728892985&amp;amp;Signature=2eGXlZt9QUB%2F8eSp4sMJD2B4PEI%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHcaCXVzLWVhc3QtMSJHMEUCIFgrekBQN6kb6yKFMYelJpbygbNBdu2NfHoA0yz53Y6nAiEA%2F67TgVfilozHxwOVHVOqCrglV5gb86RC3E5dNR%2BYRFQquQUI0P%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDLJcmX6d%2FqDobAJPdiqNBS%2FaTmh3H703Pd6U5%2B96KwSbf2F0OaARR5ZrvktGk%2FKMt%2F1O8QFdL0bnvA5NfSlJzt432EDGYu8lcn4CXMLG3cnG9C21f%2F2DeZQEzFXdgoGoxelY1PyOL4R9dLeEJounGVtGyH3ZeyKmYXh3mFKRJLQY0yOP1EJi3nJvUkIfU2V4821ivq7yxxc%2BSAMz2pOhpfhQAFyijYVipwwUHcQLcsSafYGUPQqHs3QG7nWtd7eux9zJ1294VxnjUbCdO4T8M80pPudLoQwAg3LbB8cF%2Fqyv7XwdYCASZX9QsSrUg1eYljzGReGxu3rzcIUWM7SF4DCx2J8poZqfeL%2BOeNJUZgBaK6YjpDWQndYmbSwv6chZzjT3HzyCr9lg1RKZ7TH9Ncj2EofLB4EXGw%2FtnLNHtDgPc9414MHgt3QtfhBhMiHQKcGP%2FK%2BnnGh70%2Bi5Ty3GO2gRg08RcPSYIHaO5H27%2FgC5Da0vSwvn9tPAooUU4TvLGiHLGpLpQMr228i74qb9xNp0Om68uht%2BC4k8vMkzUlX0OTcxVxBdwxrltBjp67VAKT2lGusRs49Cl%2Bm2f8z8%2Bn%2Fs8ynPyAYYhe2ziAYda6ieFr8lD7kyo0Twj3pwdTkhBNeiYgZBEel17L1QugD7H6vNDCZkbP%2Buw2Or9vvBrcf7rvpVvBfVIZoDUGh10OG%2BHTTT9DawrgWk0M15FAbZUTBBcQI8BCq%2BYQy955zZ3%2BJ53Jo0LtpQV3dZXwcHj3P9hXcBS1aTvzOqpK2ypE3EgYL9l9tVyTyUVqYl2YsQ3ZO78NnxSpk726XWlHpyCvYdZgSCR2EuMNbUAWjrbrnBzEcIH27EFybi9nBkBUQWD%2Fu48JV7Z%2B5FFCTQ5swPMIH8srgGOrEB2ItU9sOdAETrV0YQEq6JxAXuzBJFBZOEoLYVZo%2FKp8%2FTdnTvrOT1VjSp3G%2Bzw7lRPEHrdwsLALuD8LtGjZq0H0m4awA19MU6ZMgqze6zGSVv4KCpWzEs0rPb72eYXkiQSQgZXFAb0ZR56dj6SwQRh87z1LbAXV9Klb844w%2FpPpvLXgKalYW4OpYhTuy%2BaRkh1nIn9VnwsocYzv4DkuMvC26qonxYZqbvoaSw9njYWBfD"&gt;&lt;div&gt;
&lt;div&gt;9 &lt;/div&gt;
&lt;div&gt;governing documents).  Failing to pay required assessment fees &lt;/div&gt;
&lt;div&gt;both violates Summerfield&lt;span&gt;â&lt;/span&gt;s Governing Documents and conflicts &lt;/div&gt;
&lt;div&gt;with its interest in collecting fees to care for common areas.&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Moreover, a delinquent homeowner who cannot vote but can &lt;span&gt;&lt;/span&gt;sit on &lt;/div&gt;
&lt;div&gt;t&lt;span&gt;he&lt;/span&gt;&lt;span&gt; Board would be a non-voting member, unable to perform &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;essential Board functions.  &lt;/div&gt;
&lt;div&gt;Â¶ 14&lt;span&gt; &lt;span&gt;Such conflicted or âlame duckâ membership contradict&lt;span&gt;s &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;CCIOA and Summerfield&lt;span&gt;â&lt;/span&gt;s Governing Documents.  Therefore, while &lt;/div&gt;
&lt;div&gt;Majersky is correct that the Governing Documents do not expressly &lt;/div&gt;
&lt;div&gt;require homeowners to be in âgood standingâ&lt;span&gt; or current on t&lt;span&gt;&lt;/span&gt;heir &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;dues to run in Summerfield elections, we find that a hyper-&lt;/div&gt;
&lt;div&gt;technical interpretation is not appropriate in this instance.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;See &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Quarky&lt;span&gt;, Â¶ 11.  Instead, we hold that CCIOA and the Bylaws give the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Board an implied power to suspend a delinquent homeowner&lt;span&gt;â&lt;/span&gt;s &lt;/div&gt;
&lt;div&gt;eligibility to run for a Board seat.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;5&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  Under the Bylaws and &lt;/div&gt;
&lt;div&gt;Declarations, Majersky was required to pay his assessments.&lt;span&gt;  &lt;/span&gt;It is &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;5&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; While Summerfield is technically exempt from section &lt;span&gt;38&lt;/span&gt;&lt;span&gt;-33.3-&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;306(1)(c), C.R.S. 2024, as an HOA created before 1992, definin&lt;span&gt;&lt;/span&gt;g &lt;/div&gt;
&lt;div&gt;Board member qualifications could help avoid disputes like the one &lt;/div&gt;
&lt;div&gt;before us.  &lt;span&gt;See&lt;/span&gt; Â§ 38-33.3-&lt;span&gt;117&lt;/span&gt;(3) (exempting HOAs created before &lt;/div&gt;
&lt;div&gt;1992 from CCIOA except as expressly provided)&lt;span&gt;; &lt;/span&gt;Â§ 38-33.3-306(1)(c) &lt;/div&gt;
&lt;div&gt;(requiring Board member qualifications in HOA bylaws)&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pfa" data-dest-detail='[10,"XYZ",69,170,null]'&gt;&lt;div style="border-style:none;position:absolute;left:378.886667px;bottom:290.004444px;width:10.080000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
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&lt;div id="pfb" data-page-no="b"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTP432XCVYG&amp;amp;Expires=1728892985&amp;amp;Signature=oMvKIFMuPB%2BTAUkslNgvcknidsg%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHcaCXVzLWVhc3QtMSJHMEUCIFgrekBQN6kb6yKFMYelJpbygbNBdu2NfHoA0yz53Y6nAiEA%2F67TgVfilozHxwOVHVOqCrglV5gb86RC3E5dNR%2BYRFQquQUI0P%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDLJcmX6d%2FqDobAJPdiqNBS%2FaTmh3H703Pd6U5%2B96KwSbf2F0OaARR5ZrvktGk%2FKMt%2F1O8QFdL0bnvA5NfSlJzt432EDGYu8lcn4CXMLG3cnG9C21f%2F2DeZQEzFXdgoGoxelY1PyOL4R9dLeEJounGVtGyH3ZeyKmYXh3mFKRJLQY0yOP1EJi3nJvUkIfU2V4821ivq7yxxc%2BSAMz2pOhpfhQAFyijYVipwwUHcQLcsSafYGUPQqHs3QG7nWtd7eux9zJ1294VxnjUbCdO4T8M80pPudLoQwAg3LbB8cF%2Fqyv7XwdYCASZX9QsSrUg1eYljzGReGxu3rzcIUWM7SF4DCx2J8poZqfeL%2BOeNJUZgBaK6YjpDWQndYmbSwv6chZzjT3HzyCr9lg1RKZ7TH9Ncj2EofLB4EXGw%2FtnLNHtDgPc9414MHgt3QtfhBhMiHQKcGP%2FK%2BnnGh70%2Bi5Ty3GO2gRg08RcPSYIHaO5H27%2FgC5Da0vSwvn9tPAooUU4TvLGiHLGpLpQMr228i74qb9xNp0Om68uht%2BC4k8vMkzUlX0OTcxVxBdwxrltBjp67VAKT2lGusRs49Cl%2Bm2f8z8%2Bn%2Fs8ynPyAYYhe2ziAYda6ieFr8lD7kyo0Twj3pwdTkhBNeiYgZBEel17L1QugD7H6vNDCZkbP%2Buw2Or9vvBrcf7rvpVvBfVIZoDUGh10OG%2BHTTT9DawrgWk0M15FAbZUTBBcQI8BCq%2BYQy955zZ3%2BJ53Jo0LtpQV3dZXwcHj3P9hXcBS1aTvzOqpK2ypE3EgYL9l9tVyTyUVqYl2YsQ3ZO78NnxSpk726XWlHpyCvYdZgSCR2EuMNbUAWjrbrnBzEcIH27EFybi9nBkBUQWD%2Fu48JV7Z%2B5FFCTQ5swPMIH8srgGOrEB2ItU9sOdAETrV0YQEq6JxAXuzBJFBZOEoLYVZo%2FKp8%2FTdnTvrOT1VjSp3G%2Bzw7lRPEHrdwsLALuD8LtGjZq0H0m4awA19MU6ZMgqze6zGSVv4KCpWzEs0rPb72eYXkiQSQgZXFAb0ZR56dj6SwQRh87z1LbAXV9Klb844w%2FpPpvLXgKalYW4OpYhTuy%2BaRkh1nIn9VnwsocYzv4DkuMvC26qonxYZqbvoaSw9njYWBfD"&gt;&lt;div&gt;
&lt;div&gt;10 &lt;/div&gt;
&lt;div&gt;also undisputed that Majersky was in default when he asked to run &lt;/div&gt;
&lt;div&gt;in the Summerfield election.&lt;span&gt;  &lt;/span&gt;Therefore, we affirm the district &lt;/div&gt;
&lt;div&gt;court&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s conclusion that LCM had authority to prevent Majersky fr&lt;span&gt;&lt;/span&gt;om &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;running in the election.   &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;B.&lt;span&gt; &lt;span&gt;The Bylaws and the Board gave LCM Authority to Suspen&lt;span&gt;&lt;/span&gt;d &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Majersky&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;span&gt;Eligibility to Vote in Summerfield Elections &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 15&lt;span&gt; &lt;/span&gt;&lt;span&gt;Next, Majersky contends that the district court erred by &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;finding that LCM and Lopez had authority &lt;span&gt;to&lt;/span&gt; suspend his voting &lt;/div&gt;
&lt;div&gt;rights.&lt;span&gt;  &lt;span&gt;Specifically, he argues that only the Board has such power &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and, even if it could delegate its authority to LCM, it failed to &lt;span&gt;&lt;/span&gt;do so.&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;LCM responds by citing Summerfield&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;Rules and Regulations, &lt;/div&gt;
&lt;div&gt;which give the Board authority to appoint a âcommunity manager&lt;span&gt;&lt;/span&gt;â &lt;/div&gt;
&lt;div&gt;responsible for the day-&lt;span&gt;to&lt;/span&gt;-day enforcement of the Governing &lt;/div&gt;
&lt;div&gt;Documents&lt;span&gt;.  &lt;span&gt;Thus, because Summerfield hired LCM and Lopez &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(LCM&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s employee)&lt;span&gt;, &lt;/span&gt;LCM argues that it had authority to suspend &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Majersky&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s voting&lt;span&gt;. &lt;/span&gt; We agree for two reasons&lt;span&gt;. &lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 16&lt;span&gt; &lt;/span&gt;&lt;span&gt;First, both the Bylaws and the Declarations allow the Board to &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;suspend a delinquent homeowner&lt;span&gt;â&lt;/span&gt;s voting rights.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;6&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;This is &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;6&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; &lt;span&gt;The Bylaws plainly state that â&lt;/span&gt;[t]he Board of Directors shall have &lt;/div&gt;
&lt;div&gt;power to . . . suspend the voting rightsâ of delinquent &lt;span&gt;&lt;/span&gt;homeowners&lt;span&gt;. &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pfb" data-dest-detail='[11,"XYZ",69,104,null]'&gt;&lt;div style="border-style:none;position:absolute;left:519.173889px;bottom:188.165556px;width:10.080000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
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&lt;div id="pfc" data-page-no="c"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMU/bgV/MMUbgVMve4mcEeiy/O3WJejKj3iNRCc4renUThabJdb5M%3D?AWSAccessKeyId=ASIA5PHC3MTP432XCVYG&amp;amp;Expires=1728892985&amp;amp;Signature=nWnX%2BdxvJ2Ys6EeCYxi8mAiTJ9Q%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHcaCXVzLWVhc3QtMSJHMEUCIFgrekBQN6kb6yKFMYelJpbygbNBdu2NfHoA0yz53Y6nAiEA%2F67TgVfilozHxwOVHVOqCrglV5gb86RC3E5dNR%2BYRFQquQUI0P%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDLJcmX6d%2FqDobAJPdiqNBS%2FaTmh3H703Pd6U5%2B96KwSbf2F0OaARR5ZrvktGk%2FKMt%2F1O8QFdL0bnvA5NfSlJzt432EDGYu8lcn4CXMLG3cnG9C21f%2F2DeZQEzFXdgoGoxelY1PyOL4R9dLeEJounGVtGyH3ZeyKmYXh3mFKRJLQY0yOP1EJi3nJvUkIfU2V4821ivq7yxxc%2BSAMz2pOhpfhQAFyijYVipwwUHcQLcsSafYGUPQqHs3QG7nWtd7eux9zJ1294VxnjUbCdO4T8M80pPudLoQwAg3LbB8cF%2Fqyv7XwdYCASZX9QsSrUg1eYljzGReGxu3rzcIUWM7SF4DCx2J8poZqfeL%2BOeNJUZgBaK6YjpDWQndYmbSwv6chZzjT3HzyCr9lg1RKZ7TH9Ncj2EofLB4EXGw%2FtnLNHtDgPc9414MHgt3QtfhBhMiHQKcGP%2FK%2BnnGh70%2Bi5Ty3GO2gRg08RcPSYIHaO5H27%2FgC5Da0vSwvn9tPAooUU4TvLGiHLGpLpQMr228i74qb9xNp0Om68uht%2BC4k8vMkzUlX0OTcxVxBdwxrltBjp67VAKT2lGusRs49Cl%2Bm2f8z8%2Bn%2Fs8ynPyAYYhe2ziAYda6ieFr8lD7kyo0Twj3pwdTkhBNeiYgZBEel17L1QugD7H6vNDCZkbP%2Buw2Or9vvBrcf7rvpVvBfVIZoDUGh10OG%2BHTTT9DawrgWk0M15FAbZUTBBcQI8BCq%2BYQy955zZ3%2BJ53Jo0LtpQV3dZXwcHj3P9hXcBS1aTvzOqpK2ypE3EgYL9l9tVyTyUVqYl2YsQ3ZO78NnxSpk726XWlHpyCvYdZgSCR2EuMNbUAWjrbrnBzEcIH27EFybi9nBkBUQWD%2Fu48JV7Z%2B5FFCTQ5swPMIH8srgGOrEB2ItU9sOdAETrV0YQEq6JxAXuzBJFBZOEoLYVZo%2FKp8%2FTdnTvrOT1VjSp3G%2Bzw7lRPEHrdwsLALuD8LtGjZq0H0m4awA19MU6ZMgqze6zGSVv4KCpWzEs0rPb72eYXkiQSQgZXFAb0ZR56dj6SwQRh87z1LbAXV9Klb844w%2FpPpvLXgKalYW4OpYhTuy%2BaRkh1nIn9VnwsocYzv4DkuMvC26qonxYZqbvoaSw9njYWBfD"&gt;&lt;div&gt;
&lt;div&gt;11 &lt;/div&gt;
&lt;div&gt;consistent with the responsibility that an HOA can require property &lt;/div&gt;
&lt;div&gt;owners to pay their dues and penalize &lt;span&gt;a &lt;/span&gt;delinquency.  &lt;span&gt;See West&lt;/span&gt;, 73 &lt;/div&gt;
&lt;div&gt;P.3d at &lt;span&gt;7;&lt;/span&gt;&lt;span&gt; &lt;/span&gt;Â§ 38-33.3-302(1)(j)-&lt;span&gt;(k&lt;/span&gt;) (allowing HOAs to impose &lt;/div&gt;
&lt;div&gt;assessments, fines, and late fees).   &lt;/div&gt;
&lt;div&gt;Â¶ 17&lt;span&gt; &lt;/span&gt;&lt;span&gt;Second, the Governing Documents allow the Board to delegate &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;responsibilities.&lt;span&gt;  &lt;span&gt;Under &lt;span&gt;the Bylaws, the Board may âemploy a &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;manager, independent contractor, or such other employees&lt;span&gt;â&lt;/span&gt; &lt;span&gt;it&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;deems &lt;span&gt;â&lt;/span&gt;necessary and . . . &lt;span&gt;prescribe their duties.â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;The Rules and &lt;/div&gt;
&lt;div&gt;Regulations allow the Board to âappoint an &lt;span&gt;agent for the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;association, the &lt;span&gt;â&lt;/span&gt;Community Manager,&lt;span&gt;â&lt;/span&gt; who is authorized to han&lt;span&gt;&lt;/span&gt;dle &lt;/div&gt;
&lt;div&gt;day to day enforcement of these rules and regulations, the &lt;/div&gt;
&lt;div&gt;Declarations, the Articles of Incorporation, and the Bylaws&lt;span&gt;.â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;Thus, &lt;/div&gt;
&lt;div&gt;the power to manage &lt;span&gt;âday to day enforcementâ of the Bylaws &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;implicitly includes the disputed provision regarding voting&lt;span&gt;&lt;/span&gt; rights.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;7&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;/div&gt;
&lt;div&gt;The power to delegate responsibilities is also consistent &lt;span&gt;&lt;/span&gt;with &lt;/div&gt;
&lt;div&gt;CCIOA.  &lt;span&gt;See&lt;/span&gt; Â§ 38-33.3-302(1)(c); Â§ 38-33.3-&lt;span&gt;30&lt;/span&gt;6(1)(d), C.R.S. 2024&lt;span&gt;. &lt;/span&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;7&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; Contrary to Majersky&lt;span&gt;â&lt;/span&gt;s argument, the Board need not explicitly &lt;/div&gt;
&lt;div&gt;enumerate every one of the Community Manager&lt;span&gt;â&lt;/span&gt;s enforcement &lt;/div&gt;
&lt;div&gt;powers.&lt;span&gt;  &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pfc" data-dest-detail='[12,"XYZ",69,121,null]'&gt;&lt;div style="border-style:none;position:absolute;left:660.100000px;bottom:332.030556px;width:10.080000px;height:32.860000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
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&lt;/div&gt;
&lt;div id="pfd" data-page-no="d"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;12 &lt;/div&gt;
&lt;div&gt;Â¶ 18&lt;span&gt; &lt;/span&gt;&lt;span&gt;Majersky does not dispute Lopez&lt;span&gt;âs role as âHOA &lt;/span&gt;&lt;span&gt;manager.&lt;span&gt;â&lt;/span&gt;&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Moreover, LCM established in the district court that &lt;span&gt;â&lt;/span&gt; at all &lt;/div&gt;
&lt;div&gt;relevant times &lt;span&gt;â&lt;/span&gt; LCM was Summerfield&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;agent as its prope&lt;span&gt;&lt;/span&gt;rty &lt;/div&gt;
&lt;div&gt;management company, and Lopez was an LCM employee.&lt;span&gt;  &lt;/span&gt;Finally, &lt;/div&gt;
&lt;div&gt;Majersky never disputed the fact or amount of his delinquent &lt;/div&gt;
&lt;div&gt;assessment fees.&lt;span&gt;  &lt;/span&gt;When Lopez informed Majersky that he could not &lt;/div&gt;
&lt;div&gt;vote, she did not create policy or impose new, unknown rules; &lt;/div&gt;
&lt;div&gt;acting on behalf of the Board and consistent&lt;span&gt;ly&lt;/span&gt; with the Bylaws, she &lt;/div&gt;
&lt;div&gt;merely communicated that &lt;span&gt;he was âin collection and canâ&lt;/span&gt;t vote&lt;span&gt;.â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Therefore, we affirm the district court&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;interpretation that the &lt;/div&gt;
&lt;div&gt;Bylaws grant&lt;span&gt;ed&lt;/span&gt; LCM authority to suspend Majersky&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;eligibility to &lt;/div&gt;
&lt;div&gt;vote in the Summerfield election.   &lt;/div&gt;
&lt;div&gt;C.&lt;span&gt; &lt;span&gt;LCM is Not a &lt;span&gt;â&lt;/span&gt;State Actor&lt;span&gt;â&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 19&lt;span&gt; &lt;/span&gt;&lt;span&gt;Majersky reasserts his argument raised in the district court &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that LCM&lt;span&gt;â&lt;/span&gt;s conduct in restricting his voting and election eligibility &lt;/div&gt;
&lt;div&gt;violated his Fourteenth Amendment due process rights.&lt;span&gt;  &lt;/span&gt;He also &lt;/div&gt;
&lt;div&gt;asserts, in a single sentence, that Lopez &lt;span&gt;and LCM âobstructed my &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfe" data-page-no="e"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMX/n%2Be/MMXn%2BekQ817y/lXyeovZwcgeMWibwHo7dUSO3Lu0a7r74%3D?AWSAccessKeyId=ASIA5PHC3MTP432XCVYG&amp;amp;Expires=1728892985&amp;amp;Signature=2eGXlZt9QUB%2F8eSp4sMJD2B4PEI%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHcaCXVzLWVhc3QtMSJHMEUCIFgrekBQN6kb6yKFMYelJpbygbNBdu2NfHoA0yz53Y6nAiEA%2F67TgVfilozHxwOVHVOqCrglV5gb86RC3E5dNR%2BYRFQquQUI0P%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDLJcmX6d%2FqDobAJPdiqNBS%2FaTmh3H703Pd6U5%2B96KwSbf2F0OaARR5ZrvktGk%2FKMt%2F1O8QFdL0bnvA5NfSlJzt432EDGYu8lcn4CXMLG3cnG9C21f%2F2DeZQEzFXdgoGoxelY1PyOL4R9dLeEJounGVtGyH3ZeyKmYXh3mFKRJLQY0yOP1EJi3nJvUkIfU2V4821ivq7yxxc%2BSAMz2pOhpfhQAFyijYVipwwUHcQLcsSafYGUPQqHs3QG7nWtd7eux9zJ1294VxnjUbCdO4T8M80pPudLoQwAg3LbB8cF%2Fqyv7XwdYCASZX9QsSrUg1eYljzGReGxu3rzcIUWM7SF4DCx2J8poZqfeL%2BOeNJUZgBaK6YjpDWQndYmbSwv6chZzjT3HzyCr9lg1RKZ7TH9Ncj2EofLB4EXGw%2FtnLNHtDgPc9414MHgt3QtfhBhMiHQKcGP%2FK%2BnnGh70%2Bi5Ty3GO2gRg08RcPSYIHaO5H27%2FgC5Da0vSwvn9tPAooUU4TvLGiHLGpLpQMr228i74qb9xNp0Om68uht%2BC4k8vMkzUlX0OTcxVxBdwxrltBjp67VAKT2lGusRs49Cl%2Bm2f8z8%2Bn%2Fs8ynPyAYYhe2ziAYda6ieFr8lD7kyo0Twj3pwdTkhBNeiYgZBEel17L1QugD7H6vNDCZkbP%2Buw2Or9vvBrcf7rvpVvBfVIZoDUGh10OG%2BHTTT9DawrgWk0M15FAbZUTBBcQI8BCq%2BYQy955zZ3%2BJ53Jo0LtpQV3dZXwcHj3P9hXcBS1aTvzOqpK2ypE3EgYL9l9tVyTyUVqYl2YsQ3ZO78NnxSpk726XWlHpyCvYdZgSCR2EuMNbUAWjrbrnBzEcIH27EFybi9nBkBUQWD%2Fu48JV7Z%2B5FFCTQ5swPMIH8srgGOrEB2ItU9sOdAETrV0YQEq6JxAXuzBJFBZOEoLYVZo%2FKp8%2FTdnTvrOT1VjSp3G%2Bzw7lRPEHrdwsLALuD8LtGjZq0H0m4awA19MU6ZMgqze6zGSVv4KCpWzEs0rPb72eYXkiQSQgZXFAb0ZR56dj6SwQRh87z1LbAXV9Klb844w%2FpPpvLXgKalYW4OpYhTuy%2BaRkh1nIn9VnwsocYzv4DkuMvC26qonxYZqbvoaSw9njYWBfD"&gt;&lt;div&gt;
&lt;div&gt;13 &lt;/div&gt;
&lt;div&gt;right to free speech.â&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;8&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;LCM responds that the Constitution does not &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;apply to either LCM or Summerfield as private entities.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 20&lt;span&gt; &lt;/span&gt;&lt;span&gt;In granting summary judgment for LCM on Majersky&lt;span&gt;â&lt;/span&gt;s due &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;process claims, the district court focused on the proper &lt;/div&gt;
&lt;div&gt;construction of the Governing Documents rather than on whether &lt;/div&gt;
&lt;div&gt;the Fourteenth Amendment applied to LCM as a private entity.&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;However, in its order dismissing Majersky&lt;span&gt;â&lt;/span&gt;s First Amendment &lt;/div&gt;
&lt;div&gt;claims, the court briefly discussed whether the Fourteenth &lt;/div&gt;
&lt;div&gt;Amendment applied to LCM.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;9&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;Because neither LCM nor &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Summerfield is a state actor to whom the First and Fourteenth &lt;/div&gt;
&lt;div&gt;Amendments apply, we affirm.  &lt;/div&gt;
&lt;div&gt;Â¶ 21&lt;span&gt; &lt;/span&gt;&lt;span&gt;United States Supreme Court precedent makes clear that the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Fourteenth Amendment âcan be violated only by conduct that&lt;span&gt;&lt;/span&gt; may &lt;/div&gt;
&lt;div&gt;be fairly characterized as &lt;span&gt;â&lt;/span&gt;state action.&lt;span&gt;ââ&lt;/span&gt;  &lt;span&gt;Lugar v. Edmondson Oi&lt;span&gt;&lt;/span&gt;l &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Co.&lt;span&gt;, 457 U.S. 922, 924 (1982).  The limited circumstances in which &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;8&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; As discussed, &lt;span&gt;supra&lt;/span&gt;, note 1, our conclusion concernin&lt;span&gt;&lt;/span&gt;g due &lt;/div&gt;
&lt;div&gt;process is dispositive of Majerskyâs First Amendment claims. &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;9&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; Because LCM initially only moved for partial dismissal on t&lt;span&gt;&lt;/span&gt;he First &lt;/div&gt;
&lt;div&gt;Amendment claims, Majersky&lt;span&gt;â&lt;/span&gt;s due process claims were not befo&lt;span&gt;&lt;/span&gt;re &lt;/div&gt;
&lt;div&gt;the district court at that time.  However, the court quoted &lt;span&gt;People v. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Ramadon&lt;span&gt;, 2013 CO 68, Â¶ 20 n.2, &lt;span&gt;for the proposition that&lt;span&gt;&lt;/span&gt; â&lt;span&gt;[i]t is well &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;settled that a constitutional due process violation can only&lt;span&gt;&lt;/span&gt; occur by &lt;/div&gt;
&lt;div&gt;way of a state actor.â &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pfe" data-dest-detail='[14,"XYZ",69,203,null]'&gt;&lt;div style="border-style:none;position:absolute;left:269.790000px;bottom:877.999444px;width:10.080000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;&lt;a href="#pfe" data-dest-detail='[14,"XYZ",69,170,null]'&gt;&lt;div style="border-style:none;position:absolute;left:338.841111px;bottom:542.033333px;width:10.080000px;height:32.860000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pff" data-page-no="f"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;14 &lt;/div&gt;
&lt;div&gt;a private entity qualifies as a state actor include, for example, when &lt;/div&gt;
&lt;div&gt;(1) âthe private entity performs a traditional, exclusive public &lt;/div&gt;
&lt;div&gt;function&lt;span&gt;â&lt;/span&gt;&lt;span&gt;; (2) the government has compelled a private ent&lt;span&gt;&lt;/span&gt;ity&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;action; or (3) the government and the private entity act together.&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Manhattan Cmty. Access Corp. v. Halleck&lt;span&gt;, 587 U.S. 802, 809 (2&lt;span&gt;&lt;/span&gt;019).&lt;span&gt;  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Here, Majersky has failed to allege facts sufficient to find t&lt;span&gt;&lt;/span&gt;hat &lt;/div&gt;
&lt;div&gt;Summerfield and LCM qualify as state actors. &lt;/div&gt;
&lt;div&gt;Â¶ 22&lt;span&gt; &lt;/span&gt;&lt;span&gt;While HOAs make and enforce rules, often provide utilities, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and may administer land-&lt;span&gt;use regulations, they âare created by &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;private contractâ&lt;span&gt; and are generally not considered state actors&lt;span&gt;. &lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Restatement ch. 6, intro. note.  As private organizations&lt;span&gt;, &lt;/span&gt;HOAs &lt;/div&gt;
&lt;div&gt;typically do not perform traditional and exclusive public functions.  &lt;/div&gt;
&lt;div&gt;See Olson v. Belvedere Ass&lt;span&gt;â&lt;/span&gt;&lt;span&gt;n&lt;/span&gt;&lt;span&gt;, No. 2:14-&lt;span&gt;cv&lt;/span&gt;&lt;span&gt;-527-&lt;span&gt;DK&lt;/span&gt;&lt;/span&gt;-BCW, 2015 WL &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;1520911, at *5 (D. Utah Apr. 2, 2015) (unpublished opinion)&lt;span&gt;. &lt;/span&gt; Nor &lt;/div&gt;
&lt;div&gt;is an HOA a state actor merely because it contacts state officials&lt;span&gt;. &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;See&lt;span&gt; &lt;span&gt;Jordan v. Simones&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;Civ. A. No. 13-&lt;span&gt;cv&lt;/span&gt;-01675-REB-MJW, 2014 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;WL 1133291, at *4-5 (D. Colo. Mar. 21, 2014) (unpublished opini&lt;span&gt;&lt;/span&gt;on) &lt;/div&gt;
&lt;div&gt;(calling police does not make an HOA a state actor).  Finally, an &lt;/div&gt;
&lt;div&gt;HOA&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s governing documents create contractual, not constitutional, &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf10" data-page-no="10"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTP432XCVYG&amp;amp;Expires=1728892985&amp;amp;Signature=oMvKIFMuPB%2BTAUkslNgvcknidsg%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHcaCXVzLWVhc3QtMSJHMEUCIFgrekBQN6kb6yKFMYelJpbygbNBdu2NfHoA0yz53Y6nAiEA%2F67TgVfilozHxwOVHVOqCrglV5gb86RC3E5dNR%2BYRFQquQUI0P%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDLJcmX6d%2FqDobAJPdiqNBS%2FaTmh3H703Pd6U5%2B96KwSbf2F0OaARR5ZrvktGk%2FKMt%2F1O8QFdL0bnvA5NfSlJzt432EDGYu8lcn4CXMLG3cnG9C21f%2F2DeZQEzFXdgoGoxelY1PyOL4R9dLeEJounGVtGyH3ZeyKmYXh3mFKRJLQY0yOP1EJi3nJvUkIfU2V4821ivq7yxxc%2BSAMz2pOhpfhQAFyijYVipwwUHcQLcsSafYGUPQqHs3QG7nWtd7eux9zJ1294VxnjUbCdO4T8M80pPudLoQwAg3LbB8cF%2Fqyv7XwdYCASZX9QsSrUg1eYljzGReGxu3rzcIUWM7SF4DCx2J8poZqfeL%2BOeNJUZgBaK6YjpDWQndYmbSwv6chZzjT3HzyCr9lg1RKZ7TH9Ncj2EofLB4EXGw%2FtnLNHtDgPc9414MHgt3QtfhBhMiHQKcGP%2FK%2BnnGh70%2Bi5Ty3GO2gRg08RcPSYIHaO5H27%2FgC5Da0vSwvn9tPAooUU4TvLGiHLGpLpQMr228i74qb9xNp0Om68uht%2BC4k8vMkzUlX0OTcxVxBdwxrltBjp67VAKT2lGusRs49Cl%2Bm2f8z8%2Bn%2Fs8ynPyAYYhe2ziAYda6ieFr8lD7kyo0Twj3pwdTkhBNeiYgZBEel17L1QugD7H6vNDCZkbP%2Buw2Or9vvBrcf7rvpVvBfVIZoDUGh10OG%2BHTTT9DawrgWk0M15FAbZUTBBcQI8BCq%2BYQy955zZ3%2BJ53Jo0LtpQV3dZXwcHj3P9hXcBS1aTvzOqpK2ypE3EgYL9l9tVyTyUVqYl2YsQ3ZO78NnxSpk726XWlHpyCvYdZgSCR2EuMNbUAWjrbrnBzEcIH27EFybi9nBkBUQWD%2Fu48JV7Z%2B5FFCTQ5swPMIH8srgGOrEB2ItU9sOdAETrV0YQEq6JxAXuzBJFBZOEoLYVZo%2FKp8%2FTdnTvrOT1VjSp3G%2Bzw7lRPEHrdwsLALuD8LtGjZq0H0m4awA19MU6ZMgqze6zGSVv4KCpWzEs0rPb72eYXkiQSQgZXFAb0ZR56dj6SwQRh87z1LbAXV9Klb844w%2FpPpvLXgKalYW4OpYhTuy%2BaRkh1nIn9VnwsocYzv4DkuMvC26qonxYZqbvoaSw9njYWBfD"&gt;&lt;div&gt;
&lt;div&gt;15 &lt;/div&gt;
&lt;div&gt;rights.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;10&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;An&lt;/span&gt;&lt;span&gt; HOA, &lt;span&gt;as &lt;/span&gt;a private entity enforcing private rights on &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;private property, may condition eligibility to vote, run in elections, &lt;/div&gt;
&lt;div&gt;or use recreational and social facilities on the homeowner&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;payment of dues.  &lt;span&gt;See &lt;/span&gt;Restatement &lt;span&gt;Â§Â§ &lt;/span&gt;6.8 cmt. b, 6.17 cmt. a. &lt;span&gt;&lt;/span&gt; That &lt;/div&gt;
&lt;div&gt;is exactly what occurred here.&lt;span&gt;  &lt;/span&gt;Because the First and Fourteenth &lt;/div&gt;
&lt;div&gt;Amendments do not apply to LCM, we affirm the district court&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;orders dismissing Majersky&lt;span&gt;â&lt;/span&gt;s constitutional claims.  &lt;/div&gt;
&lt;div&gt;D.&lt;span&gt; &lt;span&gt;Unpreserved Claims &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 23&lt;span&gt; &lt;/span&gt;&lt;span&gt;Majersky also raises numerous claims for the first time in &lt;span&gt;&lt;/span&gt;his &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;opening and reply briefs.&lt;span&gt;  &lt;/span&gt;Although we liberally construe pro se &lt;/div&gt;
&lt;div&gt;filings, âwe do not address arguments made for the first time &lt;span&gt;&lt;/span&gt;on &lt;/div&gt;
&lt;div&gt;appeal,&lt;span&gt;â &lt;span&gt;Minshall v. Johnst&lt;span&gt;on&lt;/span&gt;&lt;span&gt;, 2018 COA 44, Â¶ 21&lt;span&gt;, or&lt;/span&gt; issues raised &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;for the first time in a reply brief&lt;span&gt;, &lt;/span&gt;&lt;span&gt;In re Estate of Liebe&lt;/span&gt;, 2023 COA 55, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;10&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; A division of this court recently held that HOA forec&lt;span&gt;&lt;/span&gt;losure notices &lt;/div&gt;
&lt;div&gt;must comply with state and federal constitutional due process &lt;/div&gt;
&lt;div&gt;requirements.  &lt;span&gt;C &amp;amp; C Invs., LP v. Hummel&lt;/span&gt;, 2022 COA 42, &lt;span&gt;&lt;/span&gt;Â¶Â¶ 42, 48.&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;However, foreclosure presents a markedly different situation &lt;span&gt;&lt;/span&gt;from &lt;/div&gt;
&lt;div&gt;the one before us here.  Namely, unlike foreclosure actions, &lt;/div&gt;
&lt;div&gt;eligibility to vote in and run for an HOA election does not &lt;span&gt;&lt;/span&gt;implicate &lt;/div&gt;
&lt;div&gt;a constitutionally protected right.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;See Connecticut v. Doehr&lt;/span&gt;&lt;span&gt;,&lt;/span&gt;&lt;span&gt; &lt;/span&gt;501 &lt;/div&gt;
&lt;div&gt;U.S. 1, 13 (1991) (discussing due process protections in the cont&lt;span&gt;&lt;/span&gt;ext &lt;/div&gt;
&lt;div&gt;of&lt;span&gt; liens, mortgages, and other financial encumbrances); &lt;span&gt;Flagg Bros. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;v. Brooks&lt;span&gt;, 436 U.S. 149, 158 (1978) (noting that state action does &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;not apply to â&lt;span&gt;private political activity . . . only state-regulated &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;electionsâ). &lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf10" data-dest-detail='[16,"XYZ",69,269,null]'&gt;&lt;div style="border-style:none;position:absolute;left:145.653889px;bottom:877.999444px;width:15.660000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
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&lt;/div&gt;
&lt;div id="pf11" data-page-no="11"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;16 &lt;/div&gt;
&lt;div&gt;Â¶ 19.  Thus, we do not reach the merits on several of Majersky&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;claims&lt;span&gt;, &lt;span&gt;including &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;the illegibility of LCM&lt;span&gt;â&lt;/span&gt;s Exhibits A and B;  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;arguments concerning Uniform Commercial Code &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;section 4-1-304, C.R.S. 2024 and non-existent CRE &lt;/div&gt;
&lt;div&gt;26&lt;span&gt;-26.1;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;/span&gt;&lt;span&gt;LCM&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s authority to collect assessment fees;  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;an argument that Majersky unintentionally agreed to &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;LCM&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s motion for summary judgment; and  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;allegations that LCM committed perjury in its answer &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;brief by, among other things, mischaracterizing &lt;/div&gt;
&lt;div&gt;Lopez&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s role as Community Manager and failing to &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;disclose that Lopez initially accepted his application &lt;/div&gt;
&lt;div&gt;for the Board without mentioning his overdue fees.  &lt;/div&gt;
&lt;div&gt;E.&lt;span&gt; &lt;span&gt;Attorney Fees  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 24&lt;span&gt; &lt;/span&gt;&lt;span&gt;LCM requests an award of its attorney fees incurred on appeal &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;under section 38-33.3-123(1)(c).&lt;span&gt;  &lt;/span&gt;Citing section 13-&lt;span&gt;17&lt;/span&gt;-102(6), &lt;/div&gt;
&lt;div&gt;C.R.S. 2024, Majersky argues that, as a pro se&lt;span&gt; &lt;/span&gt;party, we cannot &lt;/div&gt;
&lt;div&gt;impose attorney fees on him unless he &lt;span&gt;â&lt;/span&gt;clearly knew or reasona&lt;span&gt;&lt;/span&gt;bly &lt;/div&gt;
&lt;div&gt;should have knownâ this action was substantially frivolous, &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf12" data-page-no="12"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTP432XCVYG&amp;amp;Expires=1728892985&amp;amp;Signature=oMvKIFMuPB%2BTAUkslNgvcknidsg%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHcaCXVzLWVhc3QtMSJHMEUCIFgrekBQN6kb6yKFMYelJpbygbNBdu2NfHoA0yz53Y6nAiEA%2F67TgVfilozHxwOVHVOqCrglV5gb86RC3E5dNR%2BYRFQquQUI0P%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDLJcmX6d%2FqDobAJPdiqNBS%2FaTmh3H703Pd6U5%2B96KwSbf2F0OaARR5ZrvktGk%2FKMt%2F1O8QFdL0bnvA5NfSlJzt432EDGYu8lcn4CXMLG3cnG9C21f%2F2DeZQEzFXdgoGoxelY1PyOL4R9dLeEJounGVtGyH3ZeyKmYXh3mFKRJLQY0yOP1EJi3nJvUkIfU2V4821ivq7yxxc%2BSAMz2pOhpfhQAFyijYVipwwUHcQLcsSafYGUPQqHs3QG7nWtd7eux9zJ1294VxnjUbCdO4T8M80pPudLoQwAg3LbB8cF%2Fqyv7XwdYCASZX9QsSrUg1eYljzGReGxu3rzcIUWM7SF4DCx2J8poZqfeL%2BOeNJUZgBaK6YjpDWQndYmbSwv6chZzjT3HzyCr9lg1RKZ7TH9Ncj2EofLB4EXGw%2FtnLNHtDgPc9414MHgt3QtfhBhMiHQKcGP%2FK%2BnnGh70%2Bi5Ty3GO2gRg08RcPSYIHaO5H27%2FgC5Da0vSwvn9tPAooUU4TvLGiHLGpLpQMr228i74qb9xNp0Om68uht%2BC4k8vMkzUlX0OTcxVxBdwxrltBjp67VAKT2lGusRs49Cl%2Bm2f8z8%2Bn%2Fs8ynPyAYYhe2ziAYda6ieFr8lD7kyo0Twj3pwdTkhBNeiYgZBEel17L1QugD7H6vNDCZkbP%2Buw2Or9vvBrcf7rvpVvBfVIZoDUGh10OG%2BHTTT9DawrgWk0M15FAbZUTBBcQI8BCq%2BYQy955zZ3%2BJ53Jo0LtpQV3dZXwcHj3P9hXcBS1aTvzOqpK2ypE3EgYL9l9tVyTyUVqYl2YsQ3ZO78NnxSpk726XWlHpyCvYdZgSCR2EuMNbUAWjrbrnBzEcIH27EFybi9nBkBUQWD%2Fu48JV7Z%2B5FFCTQ5swPMIH8srgGOrEB2ItU9sOdAETrV0YQEq6JxAXuzBJFBZOEoLYVZo%2FKp8%2FTdnTvrOT1VjSp3G%2Bzw7lRPEHrdwsLALuD8LtGjZq0H0m4awA19MU6ZMgqze6zGSVv4KCpWzEs0rPb72eYXkiQSQgZXFAb0ZR56dj6SwQRh87z1LbAXV9Klb844w%2FpPpvLXgKalYW4OpYhTuy%2BaRkh1nIn9VnwsocYzv4DkuMvC26qonxYZqbvoaSw9njYWBfD"&gt;&lt;div&gt;
&lt;div&gt;17 &lt;/div&gt;
&lt;div&gt;groundless, or vexatious.&lt;span&gt;  &lt;/span&gt;While creative, this argument does not &lt;/div&gt;
&lt;div&gt;account for the fact that another statute specifically provides for &lt;/div&gt;
&lt;div&gt;attorney fees, so section 13-&lt;span&gt;17&lt;/span&gt;-102(6) does not apply.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;See&lt;/span&gt; Â§ 13-&lt;span&gt;17&lt;/span&gt;-&lt;/div&gt;
&lt;div&gt;106, C.R.S. 2024.  &lt;/div&gt;
&lt;div&gt;Â¶ 25&lt;span&gt; &lt;/span&gt;&lt;span&gt;As the prevailing party, LCM is entitled to reasonable attorney &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;fees under section 38-33.3-123(1)(c).&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;11&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;We exercise our discretion &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;under C.A.R. 39.1 and remand the case to the district &lt;span&gt;&lt;/span&gt;court to &lt;/div&gt;
&lt;div&gt;determine the amount of those fees.  Because the district court &lt;/div&gt;
&lt;div&gt;stayed its determination of attorney fees incurred in the district &lt;/div&gt;
&lt;div&gt;court proceedings&lt;span&gt;, &lt;/span&gt;it may determine &lt;span&gt;th&lt;/span&gt;ose fees on remand&lt;span&gt;. &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;V.&lt;span&gt; &lt;span&gt;Disposition &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 26&lt;span&gt; &lt;/span&gt;&lt;span&gt;The district court&lt;span&gt;â&lt;/span&gt;s order granting summary judgment for LCM &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;is affirmed, and the case is remanded&lt;span&gt;. &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;JUDGE JOHNSON and JUDGE SCHOCK concur. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;11&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; &lt;span&gt;In&lt;/span&gt; a recent amendment to section 38-33.3-123(1)(c), C.R.S.&lt;span&gt;&lt;/span&gt; 2024, &lt;/div&gt;
&lt;div&gt;the legislature added subsections (1)(c)(I) and (1)(c)(II), which &lt;/div&gt;
&lt;div&gt;substantially limit attorney fees awards to prevailing HOAs absent a &lt;/div&gt;
&lt;div&gt;homeowner&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s willful failure to comply with the governing &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;documents.  &lt;span&gt;See&lt;/span&gt; Ch. 422&lt;span&gt;, &lt;/span&gt;sec. 1, Â§ 38-33.3-123, 2024 Colo. Sess. &lt;/div&gt;
&lt;div&gt;Laws 2881.  These amendments &lt;span&gt;apply to âdebts accrued on or aft&lt;span&gt;&lt;/span&gt;er &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the applicable effective date of this act,â which is &lt;span&gt;August 7, 2024.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Sec. 9, 2024 Colo. Sess. Laws at 2887.  Thus, the amendments &lt;/div&gt;
&lt;div&gt;apply to any attorney fees LCM accrued on or after August 7, &lt;span&gt;&lt;/span&gt;2024.  &lt;/div&gt;
&lt;/div&gt;
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